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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
UNITED STATES OF AMERICA                             :     CRIMINAL ACTION
                                                     :
              VS.                                    :
                                                     :
ANTHONY SMITH                                        :     20-368



       AND NOW,              this           day of                  , 2022, it is hereby

ORDERED that the trial date be continued and all pretrial deadlines are extended.



                                            BY THE COURT:




                                            HONORABLE JUAN R. SANCHEZ




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PAUL J. HETZNECKER, ESQUIRE
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Philadelphia, PA 19102        Attorney for Defendant, Anthony Smith
(215) 893-9640

                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
UNITED STATES OF AMERICA                               :      CRIMINAL ACTION
                                                       :
                VS.                                    :
                                                       :
ANTHONY SMITH                                          :      20-368


                           MOTION TO CONTINUE TRIAL DATE

        TO THE HONORABLE JUAN R. SANCHEZ, CHIEF JUDGE OF THE UNITED

STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA:

        Anthony Smith, by and through his attorney Paul J. Hetznecker, Esquire, files this

Motion to Continue Trial Date in the above matter and submits the following in support thereof:

        1.      The trial in this matter is scheduled to begin on January 31, 2022. Counsel

respectfully requests a continuance in this matter.

        2.      Counsel for Defendant Anthony Smith is requesting this continuance as additional

time is needed for further investigation and review of discovery.

        3.      The government has no opposition to the defendant’s Motion to Continue Trial

Date.

        4.      This request for a continuance is submitted in order to serve the interests of justice

and effective assistance of counsel. Furthermore, the time granted for this extension is

"excludable time" pursuant to 18 U.S.C. § 3161(h)(1)(F) of the Speedy Trial Act.

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        WHEREFORE, Counsel for the defendant, Anthony Smith, respectfully requests that the

trial date in this matter be continued.

                                          Respectfully submitted,


                                          /s/ Paul J. Hetznecker, Esquire
                                          Paul J. Hetznecker, Esquire
                                          Attorney for Defendant, Anthony Smith


DATE:          January 3, 2022




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                                  CERTIFICATE OF SERVICE

        I, Paul J. Hetznecker, hereby certify that a true and correct copy of MOTION TO

CONTINUE TRIAL DATE was served on the following via the Court’s electronic filing

system (ecf):



                                     Amanda R. Reinitz, Esquire
                                     Assistant United States Attorney
                                     615 Chestnut Street, Suite 1250
                                     Philadelphia, PA 19106




                                            /s/ Paul J. Hetznecker, Esquire
                                            Paul J. Hetznecker, Esquire
                                            Attorney for Defendant, Anthony Smith


DATE:           January 3, 2022




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